755 F.2d 932
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.JOSEPH C. HAWK, PLAINTIFF-APPELLANT,v.ROBERT REDMAN, DEFENDANT-APPELLEE.
    NO. 84-1546
    United States Court of Appeals, Sixth Circuit.
    1/11/85
    
      ORDER
      BEFORE:  ENGEL, KEITH, and MARTIN, Circuit Judges.
    
    
      1
      This matter is before the Court upon consideration of the appellant's response to this Court's show cause order.
    
    
      2
      It appears from the record that the judgment was entered February 17, 1984.  The notice of appeal filed on July 20, 1984 was 123 days late.  Rules 4(a) and 26(a), Federal Rules of Appellate Procedure.
    
    
      3
      The failure of an appellant to timely file a notice of appeal deprives an appellate court of jurisdiction.  Compliance with Rule 4(a), Federal Rules of Appellate Procedure, is a mandatory and jurisdictional prerequisite which this Court can neither waive nor extend.  Peake v. First Nat. Bank and Trust Co. of Marquette, 717 F.2d 1016 (6th Cir. 1983).  Rule 26(b), Federal Rules of Appellate Procedure, specifically provides that this Court cannot enlarge the time for filing a notice of appeal.
    
    
      4
      Accordingly, it is ORDERED that the appeal be and it hereby is dismissed for lack of jurisdiction.  Rule 9(d)(1), Rules of the Sixth Circuit.
    
    